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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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ROYCE CORLEY,                                                         :   Docket No.: 15-CV-9621
                                                                      :   (KPF)
                                    Plaintiff,                        :
                                                                      :
                  -against-                                           :   NOTICE OF MOTION TO
                                                                      :   DISMISS PURSUANT TO
HONORABLE BONNIE G. WITTNER, J.S.C.;                                  :   RULE 12(b)(6)
MICHAEL J. BARRY; PORTS & FILES, INC.;                                :
GLENN F. HARDY, ESQ.; GLENN F. HARDY, P.C.; :
CYRUS R. VANCE, JR.; JOHN TEMPLE; DAVID                               :
STUART; GREG WEISS; JOHN DOE; AND THE                                 :
CITY OF NEW YORK                                                      :
                                                                      :
                                    Defendants.                       :
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      PLEASE TAKE NOTICE that upon the instant Notice of Motion, Declaration of Andrew S.

Kowlowitz, sworn to on August 3, 2018, and the exhibits annexed thereto, together with the accompanying

Memorandum of Law dated August 3, 2018, Defendants GLENN F. HARDY, ESQ., and GLENN F.

HARDY, P.C., hereby moves this Court, before Honorable Katherine Polk Failla, U.S. District Judge at the

New York Federal Courthouse located at 40 Foley Square, New York, New York, on a date determined by

the Court, for an order pursuant to Fed. R. Civ. P. 12(b)(6), dismissing the complaint of Plaintiff ROYCE

CORLEY, in its entirety, with prejudice, and for such other and further relief as this Court may deem just,

proper, and equitable.

Dated:         New York, New York
               August 3, 2018

                                                                    FURMAN KORNFELD & BRENNAN LLP


                                                                         /s/ Jason A. Kayne
                                                           By:      Andrew S. Kowlowtiz, Esq.
                                                                    Jason A. Kayne, Esq.
                                                                    Attorneys for Defendants
                                                                    GLENN F. HARDY, ESQ. and
                                                                    GLENN F. HARDY, P.C.
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                                                                    FKB File No.: 313.148
